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                            No. 23-60230
              ________________________________________
        IN THE UNITED STATES COURT OF APPEALS
                    FOR THE FIFTH CIRCUIT
              ________________________________________
    NATIONAL CENTER FOR PUBLIC POLICY RESEARCH;
           NATHANIEL FISCHER; PHILLIP ARONOFF,
                                                           Petitioners,
                                 v.
          SECURITIES AND EXCHANGE COMMISSION,
                                                           Respondent.
              ________________________________________
  Petition for Review from an Order of the Securities and Exchange
                            Commission
              ________________________________________

            OPENING BRIEF FOR PETITIONERS
            ________________________________________

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           CERTIFICATE OF INTERESTED PERSONS

     National Center for Public Policy Research et al. v. SEC

                              No. 23-60230

     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Fifth Circuit

Local Rule 28.2.1 have an interest in the outcome of this case. These

representations are made in order that the judges of this Court may

evaluate possible disqualification or recusal.

1.   National Center for Public Policy Research. It has no parent

     corporation, and no publicly held corporation owns 10% or more of

     its stock.

2.   Nathaniel Fischer

3.   Phillip Aronoff

4.   The Securities and Exchange Commission

5.   Boyden Gray & Associates PLLC

6.   R. Trent McCotter

7.   Jonathan Berry

8.   Michael Buschbacher

9.   Jared M. Kelson




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10.   The Kroger Co. It is publicly traded under the ticker KR, and,

      according to public information, The Vanguard Group, Inc., owns

      10% or more of its stock.

11.   BlackRock Inc. It is publicly traded under the ticker BLK, and,

      according to public information, no publicly held corporation owns

      10% or more of its stock.

12.   American Express Co. It is publicly traded under the ticker AXP,

      and, according to public information, Berkshire Hathaway, Inc.,

      owns 10% or more of its stock.

13.   Apple Inc. It is publicly traded under the ticker AAPL, and,

      according to public information, no publicly held corporation owns

      10% or more of its stock.

14.   Alphabet Inc. It is publicly traded under the ticker GOOGL, and,

      according to public information, no publicly held corporation owns

      10% or more of its stock.

15.   Walgreens Boots Alliance Inc. It is publicly traded under the ticker

      WBA, and, according to public information, no publicly held

      corporation owns 10% or more of its stock.

16.   Gene P. Hamilton



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17.   Reed D. Rubinstein

18.   America First Legal Foundation

19.   Theodore J. Weiman

20.   Tracey A. Hardin

21.   Megan Barbero

22.   Michael A. Conley

23.   National Association of Manufacturers

24.   Lehotsky Keller Cohn LLP

25.   Steven P. Lehotsky

26.   Adam Steene

27.   Erica Klenicki

28.   Scott A. Keller

29.   Matthew H. Frederick

30.   Todd Disher

31.   Alexis Swartz

Dated: July 14, 2023                           /s/ R. Trent McCotter
                                               R. Trent McCotter
                                               Counsel of Record for Petitioners




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                 REQUEST FOR ORAL ARGUMENT

     Pursuant to Federal Rule of Appellate Procedure 34(a) and (f) and

Fifth Circuit Rule 28.2.3, Petitioners respectfully request oral argument.

This case involves novel and complex issues of constitutional and

statutory interpretation and administrative law. Oral argument would

substantially aid the Court in its resolution of the case.




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                  JURISDICTIONAL STATEMENT

     The Rule 14a-8 Review Team of the Division of Corporation Finance

(“Division”) of the Securities and Exchange Commission issued its

decision on April 12, 2023. JA34. The next day, Petitioners sought review

directly from the SEC Commissioners, who declined to review the

Division’s decision, rendering it the “[f]inal[]” SEC decision for “all

purposes,” including judicial “review.” 15 U.S.C. § 78d-1(c); Axon Enter.,

Inc. v. FTC, 143 S. Ct. 890, 898 (2023) (“[I]f no such review has occurred

[by the Commission], the [subordinate’s] ruling itself becomes the

decision of the Commission.”). That decision was issued under SEC Rule

14a-8, promulgated under § 14(a) of the Securities Exchange Act of 1934

(the “Exchange Act”). 15 U.S.C. § 78n(a).

     This Court has jurisdiction to review such an order pursuant to

§ 25(a) of the Exchange Act. 15 U.S.C. § 78y(a); see Part III, infra. The

petition was filed timely on April 28, 2023, and venue is proper because

Petitioners Fischer and Aronoff reside within this Circuit. 28 U.S.C.

§ 2343; Glob. Van Lines, Inc. v. ICC, 691 F.2d 773, 774 n.1 (5th Cir. 1982).




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                   STATEMENT OF THE ISSUES

     (1)   Whether the SEC acted contrary to law and arbitrarily and

capriciously by blessing companies’ exclusion of shareholder proxy

proposals about viewpoint and ideological discrimination, on the basis

that such statements do not raise “significant discrimination matters.”

     (2)   Whether the SEC’s disparate treatment of Petitioners’

conservative viewpoints violates the First Amendment.

     (3)   Whether this Court has jurisdiction to review Petitioners’

timely challenge to the SEC’s final order.

                           INTRODUCTION

     In advance of annual shareholder meetings, public companies

solicit the votes of shareholders eligible to vote at the meeting by

circulating “proxy” voting materials. The ability to “[v]ote by proxy has

become an indispensable part of corporate governance.” Trinity Wall St.

v. Wal-Mart Stores, Inc., 792 F.3d 323, 334 (3d Cir. 2015) (internal

citation omitted). These materials provide information about matters to

be voted upon at the meeting, the company’s recommendation as to how

shareholders should vote, and a proxy card soliciting the shareholder’s

votes on those matters.


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     Under the SEC’s Rule 14a-8, companies must include certain

shareholder proposals in their proxy materials, but the company can seek

to exclude proposals on certain bases the Rule provides. See Trinity, 792

F.3d at 335–37. One basis for exclusion is when the proposal “deals with

a matter relating to the company’s ordinary business operations.” 17

C.F.R. § 240.14a-8(i)(7). If the company believes a proposal falls within

an exclusion, the company “must file with the [SEC’s Division of

Corporation Finance] staff the reasons why it believes the proposal is

excludable.” Trinity, 792 F.3d at 336. The Division then issues a decision

either agreeing or disagreeing that the proposal is excludable, and

separately stating whether the Division would recommend against

enforcement action if the company did exclude the proposal.

     This is sometimes referred to as the “no-action” process, in which

companies seek what is sometimes labeled in shorthand as “no-action

relief.” But the SEC’s decision in such proceedings is far more than an

announcement that the Division will recommend that no enforcement

action be taken if a company excludes a particular proposal. The SEC

affirmatively decides that the proposal falls within an exclusion, and

then expressly blesses the companies’ decision to exclude the proposal


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from ever receiving a vote. The Division’s decision receives deference

within the SEC itself and even during some judicial proceedings.

       One of Rule 14a-8’s bases for exclusion is when the proposal “deals

with a matter relating to the company’s ordinary business operations.”

17 C.F.R. § 240.14a-8(i)(7). The SEC has long taken the position that this

exclusion    does   not    apply    to       proposals     involving     “significant

discrimination matters,” which inherently “transcend the day-to-day

business matters and raise policy issues so significant that it would be

appropriate for a shareholder vote.” JA14.

       Petitioner National Center for Public Policy Research (“NCPPR”),

which owns shares of The Kroger Company, sought to have that company

include the following proposal (“Proposal”) in its proxy materials for its

2023 shareholder meeting:

       Shareholders request the Kroger Company (“Kroger”) issue a
       public report detailing the potential risks associated with
       omitting “viewpoint” and “ideology” from its written equal
       employment opportunity (EEO) policy. The report should be
       available within a reasonable timeframe, prepared at a
       reasonable expense and omit proprietary information.

JA3.

       On February 16, 2023, Kroger asked the Staff of the SEC’s Division

of Corporation Finance to bless Kroger’s intention to omit the Proposal

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from its proxy materials. Kroger argued that the Proposal fell within the

“ordinary business operations” exclusion and therefore “should be

excluded from Kroger’s Proxy Materials pursuant to Rule 14a-8(i)(7).”

JA10.

     In line with its view that companies cannot exclude proposals that

pertain to significant matters of discrimination, the SEC routinely rejects

requests to exclude proposals that focus on the risks of discrimination.

For example, even before Bostock, the SEC rejected a request to bless the

exclusion of a proposal that was identical to NCPPR’s Proposal except the

proposal    asked   about    equal-employment          provisions     for   “sexual

orientation” and “gender identity,” whereas NCPPR’s Proposal was for

“viewpoint” and “ideology.”1

     When faced with NCPPR’s Proposal, however, the Division

concluded that discrimination on the basis of viewpoint and ideology is

not a significant discrimination matter and that it instead “relates to,

and does not transcend, ordinary business matters.” JA34. The Division




1Compare CorVel Corp., 2019 WL 1640021 (SEC No-Action Decision
June 5, 2019), with Bostock v. Clayton Cnty., Ga., 140 S. Ct. 1731 (2020).

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thus agreed that Kroger could exclude the Proposal from its proxy

materials. JA34.

     NCPPR, as well as Petitioners Fischer and Aronoff, who also own

shares of Kroger and wished to vote on the Proposal, sought review by

the SEC Commissioners themselves, but the Commission declined

review, thereby converting the Division’s decision into the final decision

of the Commission itself. 15 U.S.C. § 78d-1(c); see Axon, 143 S. Ct. at 898.

     For several reasons, this Court should vacate the SEC’s order and

remand. First, the SEC’s conclusion that viewpoint and ideological

discrimination is not a matter of significant social policy concern was

contrary to law and arbitrary and capricious. See Part I.A, infra. The SEC

itself has repeatedly stated that discrimination is undoubtedly a matter

of significant social policy concern, and thus shareholder proposals

related to discrimination cannot be excluded as dealing merely with

“ordinary business matters.” There is no reason to treat viewpoint and

ideological discrimination any differently, especially given the significant

evidence presented below that such discrimination is rampant across the

country, is a matter about which millions of Americans are deeply

concerned, and is prohibited by law in numerous jurisdictions. At the


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very least, the SEC’s decision was arbitrary and capricious because it did

not even attempt to explain its sudden change in position on whether

companies can exclude proposals about significant discrimination. See

Part I.B, infra.

     Second, by blessing proposals that ask about sexual orientation and

gender identity discrimination even before Bostock, while agreeing that

identical proposals about viewpoint discrimination and ideology can be

excluded, the SEC has         engaged in unconstitutional               viewpoint

discrimination. The problem runs much deeper. There is a documented

pattern of the SEC disfavoring conservative shareholder proposals to

prevent them ever from receiving votes. See Part II, infra. The SEC’s

actions demonstrate that it believes discrimination is a matter of

significant social policy concern and thus worthy of receiving a

shareholder vote—unless (ironically) it involves discrimination on the

basis of viewpoint or ideology, in which case the SEC will move to chill

such speech by agreeing with companies seeking to exclude such

proposals.

     For these reasons, the Court should vacate and remand.




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     Seeking to shield its illegal and unconstitutional actions, the SEC

has previously argued that this Court cannot review the SEC’s decisions

made during the no-action process because there is allegedly no final

order of the Commission. That is wrong and ignores the Exchange Act

provision expressly deeming such decisions by the Division to be the

“[f]inal[]” and judicially reviewable decisions of the Commission itself

after the Commission has either declined review or the time to seek such

review has expired. 15 U.S.C. § 78d-1(c). The SEC’s arguments about

finality and reviewability are premised on nonsensical theories, such as

a claim that the Division was never delegated the power to issue no-

action decisions in the first place (which is both wrong and irrelevant), or

that such decisions have no real-world effects (even though they are given

deferential weight in certain judicial proceedings, and even though the

SEC treats the decisions as absolutely binding, as do the receiving

companies). See Part III, infra.

     The SEC also claims the case is moot because the 2023 proxy season

for Kroger has now ended and Kroger included the Proposal after this

Court stayed the SEC’s decision. But Petitioners’ challenge is against the

SEC, not Kroger. And Petitioners’ injury—i.e., that the SEC is illegally


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blessing    companies’    requests   to       exclude     Petitioners’     viewpoint-

discrimination proposal—is capable of repetition yet evading review. See

Part IV, infra. The shareholder season typically lasts only a few months

at most, and Petitioners have repeatedly submitted the exact same

Proposal in the past, only to have the companies seek no-action relief and

the SEC grant it every time, ensuring the proposal does not receive a vote.

Petitioners continue to submit the same viewpoint-discrimination

proposal going forward (several more are pending right now),

demonstrating there remains a live controversy against the SEC, which

is certain to grant no-action relief against the very same proposal in the

future.

       The Court has jurisdiction and should vacate and remand the SEC’s

decision.

                        STATEMENT OF THE CASE

A.     ADMINISTRATIVE PROCEEDINGS

       NCPPR is the “original and premier … defender of true capitalism.”

Free      Enterprise    Project,   Nat’l       Ctr.     for   Pub.       Pol’y   Res.,

https://nationalcenter.org/programs/free-enterprise-project/ (last visited

July 13, 2023). NCPPR “files shareholder resolutions, engages corporate


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CEOs and board members, submits public comments, engages state and

federal leaders, crafts legislation, files lawsuits and directs media

campaigns to push corporations to respect their fiduciary obligations and

to stay out of political and social engineering.” Id.

       NCPPR submits shareholder proposals on a range of subjects, from

gun rights and religious freedom to corporate free speech, ideological

diversity, voter integrity, freedom of conscience and others, which tend

to align more closely with a conservative political perspective.

       NCPPR is a longtime Kroger shareholder. On December 21, 2022,

NCPPR sent its Proposal to Kroger and requested that it be included in

Kroger’s 2023 proxy materials so Kroger shareholders could vote on it.

JA1. The Proposal states:

       RESOLVED

       Shareholders request the Kroger Company (“Kroger”) issue a public
       report detailing the potential risks associated with omitting
       “viewpoint” and “ideology” from its written equal employment
       opportunity (EEO) policy. The report should be available within a
       reasonable timeframe, prepared at a reasonable expense and omit
       proprietary information.

JA3.

       NCPPR modeled the Proposal on an earlier proposal and

supporting statement that the SEC had previously said was not

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excludable under Rule 14a-8(i)(7). The 2019 proposal to CorVel Corp.

requested that the company “issue a public report detailing the potential

risks associated with omitting ‘sexual orientation’ and ‘gender identity’

from its written equal employment opportunity (EEO) policy.” CorVel

Corp., 2019 WL 1640021 at *1 (SEC No-Action Decision June 5, 2019).

The SEC concluded this proposal was not excludable. Id.

     On February 16, 2023, Kroger submitted a letter to the Division,

which is the component of the SEC to which the Commission has

delegated responsibility to review requests to exclude shareholder

proposals. JA6; see 17 C.F.R. §§ 202.1(d), 202.2, 200.30-1(f)(4). Kroger

argued that NCPPR’s Proposal “deals with matters relating to the

Company’s ordinary business operations” because it pertains only to

“Kroger’s management of its workforce and policies concerning

employees.” JA7, JA9. Kroger also argued that the Proposal did not

implicate a “significant policy issue” for the same reasons. JA10.

     On March 2, 2023, NCPPR responded to Kroger’s letter by pointing

out that the SEC itself has held that “‘significant discrimination

matters’” “‘transcend the day-to-day business matters and raise policy

issues so significant that it would be appropriate for a shareholder vote,’”


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and thus proposals on such matters should not be excluded. JA14

(quoting Amendments to Rules on Shareholder Proposals, Exchange Act

Release No. 40018 (May 21, 1998) (hereinafter “1998 Amendments”),

available at https://www.sec.gov/rules/final/34-40018.htm). NCPPR also

argued that the Division’s Staff Legal Bulletin No. 14L (“SLB-14L”),

issued in 2021, had even more clearly privileged those “proposals

squarely raising human capital management issues with a broad societal

impact,” regardless of whether they raised a policy of significance “for the

company” specifically. Division of Corporation Finance, SLB-14L (Nov. 3,

2021),     https://www.sec.gov/corpfin/staff-legal-bulletin-14l-shareholder-

proposals.

     NCPPR further cited extensive statistics about the existence of

viewpoint and ideological discrimination, as well as the importance of

that issue to society. For example, a recent Society for Human Resource

Management study demonstrated that the percentage of American

workers who say they have experienced political affiliation bias in the

workplace doubled from 2019 to 2022. JA51. And an Economist/YouGov

poll revealed that over 79% of conservatives feel they face discrimination

either “a great deal” or “a fair amount,” and a Hill-HarrisX survey found


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that 78% of Republicans believe conservatives “have to deal with

discriminatory behavior,” whereas just 16% of Democrats felt the same

way. JA18.

     On April 12, 2023, after the parties completed adversarial briefing

on the matter, the Division issued a decision agreeing with Kroger that

the Proposal “relates to, and does not transcend, ordinary business

matters,” and thus there “appears to be some basis for your view that

[Kroger] may exclude the Proposal under Rule 14a-8(i)(7).” JA34.

     On April 13, 2023, NCPPR sought review directly from the

Commissioners. JA35. NCPPR explained that the Division’s decision was

inconsistent with its 2019 CorVel Corp. decision, which involved a

proposal identical to NCPPR’s except it substituted “sexual orientation”

and “gender identity” for “viewpoint” and “ideology.” JA52–54; see

CorVel, 2019 WL 1640021. The CorVel decision pre-dated Bostock’s

holding that Title VII extended to sexual orientation and gender identity,

yet the Division concluded that proposal was not excludable.

     NCPPR also argued that the SEC was engaging in viewpoint

discrimination by giving the green light to proposals about certain forms

of discrimination (e.g., against sexual orientation and gender identity)


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while agreeing companies could exclude proposals about other forms of

discrimination that are at least as significant to society (e.g., viewpoint

and ideology, especially against conservatives). JA53–57. NCPPR further

argued that the SEC was acting arbitrarily and capriciously by denying

or granting relief in inconsistent ways, without explanation, JA57–59,

and that the SEC lacked statutory authority to undertake the Rule14a-8

process in the first place, JA59–64.

     Petitioners Fischer and Aronoff, who both own Kroger stock,

participated in the proceedings by submitting formal statements

adopting NCPPR’s arguments and also supporting NCPPR’s petition for

Commission review. JA82, JA150. These Petitioners explained their

desire to vote on NCPPR’s Proposal, which would almost certainly be

foreclosed if the SEC maintained its view that the Proposal was

excludable.

     The Commission declined review, however, rendering the Division’s

decision the “[f]inal[]” SEC decision for “all purposes,” including judicial

“appeal or review thereof.” 15 U.S.C. § 78d-1(c); see 17 C.F.R. § 201.430;

Axon, 143 S. Ct. at 898 (“[I]f no such review has occurred [by the




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Commission], the [subordinate’s] ruling itself becomes the decision of the

Commission.”).

B.   PROCEEDINGS BEFORE THIS COURT

     On April 28, 2023, Petitioners filed the Petition with this Court,

sought expedited consideration, and submitted an emergency motion for

a stay pending review. ECF1, 4.2 The Court promptly issued an

administrative stay and set an expedited briefing schedule on the

emergency motion. ECF10-2. On May 10, 2023, after emergency briefing

completed, the Court ordered the emergency motion to be carried with

the case, denied the request for expedited consideration, and kept the

administrative stay in place. ECF29-2. The emergency motion remains

pending.

     On May 12, 2023, Kroger, having been deprived of its SEC no-action

relief as a result of this Court’s decision to keep the administrative stay

in place for an indefinite period of time, issued its 2023 proxy materials

and included the Proposal. See The Kroger Co., Definitive Proxy




2 Citations to “ECF” refer to the ECF number on this Court’s docket in

this case.

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Statement     (Schedule    14A)       May     12,       2023,      at    92–93,

https://tinyurl.com/bdf7veeh.

     On May 24, 2023, the National Association of Manufacturers

sought to intervene, arguing that the SEC lacks authority to compel

corporations to speak or subsidize shareholder speech about any

shareholder proposal. ECF31. The Court granted the motion to

intervene. ECF36.

     On June 2, 2023, the SEC moved to dismiss the Petition, re-raising

the same arguments it had made in opposition to the emergency motion

for a stay, and also arguing the case was moot because of Kroger’s

decision to include the Proposal. ECF37. Petitioners opposed, and the

SEC filed a reply brief. ECF44, 51. A motions panel subsequently ordered

the motion to dismiss to be carried with the case, and that motion

remains pending. ECF61.

     The SEC also attempted to avoid filing the administrative record

by arguing there had been no proceedings below, ECF38, but the Court

rejected that request, ECF43, and the SEC filed a certified index of the

record on July 7, 2023, ECF56.




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C.   PETITIONERS’ ONGOING PRACTICE OF                    SUBMITTING        THE
     VIEWPOINT-DISCRIMINATION PROPOSAL

     NCPPR has already submitted the same viewpoint-discrimination

proposal to BlackRock and Walgreens for their upcoming proxy seasons,

and will imminently submit that proposal to American Express, Apple,

and Alphabet for their upcoming seasons, as well. See Add.Ex.A (Shepard

Decl.).3 Petitioners Fischer and Aronoff own shares in BlackRock and

intend to participate in the SEC proceedings when it seeks no-action

relief. See Add.Exs.B–C (Fischer and Aronoff Decl.). Further, Petitioner

Fischer has submitted the same viewpoint-discrimination proposal to

Redfin for its 2024 shareholder meeting. Add.Ex.B. These proposals all

remain pending.

     At least one (and likely all) of those companies will seek no-action

relief from the SEC, which will just as certainly grant such relief and

conclude that the proposal is excludable. This is not speculation. When

NCPPR previously submitted the exact same viewpoint-discrimination

proposal to BlackRock, Walgreens, Kroger, Salesforce.com, Alphabet, and

Apple over a period of several years, each of them sought no-action relief


3 The Shepard, Fischer, and Aronoff declarations are in the concurrently

filed Addendum.

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from the SEC, which granted such relief and concluded the proposal could

be excluded every single time. See BlackRock, Inc., 2022 WL 225967 (SEC

No-Action Decision Apr. 4, 2022); Walgreens Boots All., Inc., 2020 WL

5656738 (SEC No-Action Decision Nov. 12, 2020); Salesforce.com, Inc.,

2020 WL 605941 (SEC No-Action Decision Mar. 5, 2020); Alphabet Inc.,

2020 WL 605360 (SEC No-Action Decision Feb. 24, 2020); Apple Inc.,

2019 WL 5420787 (SEC No-Action Decision Dec. 20, 2019).

     NCPPR also intends to continue submitting the viewpoint-

discrimination proposal to companies where it is eligible to do so, see

Add.Ex.A, continuing its years-long practice.

                  SUMMARY OF THE ARGUMENT

     The Court should grant the Petition and vacate the SEC’s decision

below. The SEC acted contrary to law and arbitrarily and capriciously by

concluding that a shareholder proposal about viewpoint and ideological

discrimination did not raise a matter of significant social policy, given

that (1) the SEC has previously agreed that proposals about

discrimination raise significant social policy concerns, (2) the SEC has

concluded that otherwise-identical proposals about sexual orientation

and gender identity discrimination do raise a matter of significant social


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policy, and (3) evidence submitted below confirms that viewpoint and

ideological discrimination are matters of exceptional importance and

concern to Americans. See Part I.A, infra. Further, to the extent the SEC

has suddenly changed its position on proposals about discrimination,

such an about-face is itself arbitrary and capricious because the SEC

never acknowledged, let alone explained, why it was changing its

position. See Part I.B, infra.

     The SEC’s decision is also unconstitutional. Several detailed

studies demonstrate that Petitioners were victims of the SEC’s viewpoint

discrimination against conservative shareholder proposals. See Part II,

infra. The SEC disproportionately grants no-action for conservative-

aligned proposals as compared to liberal-aligned ones, demonstrated

most obviously by the SEC’s grant of such relief here despite previously

declining to issue such relief for otherwise-identical proposals that

address forms of discrimination often raised by liberal groups.

     Finally, the Court should reject the SEC’s unpersuasive arguments

that its decision is judicially unreviewable and that this action is moot.

See Parts IV–V, infra. The Exchange Act clearly establishes this Court’s

jurisdiction, and the challenged SEC action here is not only capable of


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repetition yet evading review—but has in fact already repeatedly

happened and is nearly guaranteed to happen again in the near future.

                             ARGUMENT

I.   THE SEC’S DECISION WAS LEGALLY ERRONEOUS AND ARBITRARY
     AND CAPRICIOUS.

     A.    THE SEC MISAPPLIED RULE 14a-8 BY EXCLUDING THE
           PROPOSAL DESPITE ITS FOCUS ON SIGNIFICANT SOCIAL
           POLICY.

     The SEC has long applied Rule 14a-8 to compel the inclusion of

shareholder proposals that relate to matters of “significant social policy

issues.” NCPPR’s Proposal relates to the policy issue of discrimination

against employees on viewpoint and ideological grounds. Discrimination,

and especially discrimination on the basis of viewpoint or ideology, is

undoubtedly a significant social policy issue under the SEC’s own

regulations. The SEC was wrong to conclude otherwise, and this Court

should vacate that decision and remand. See, e.g., Meadows v. SEC, 119

F.3d 1219, 1224 (5th Cir. 1997) (standards of review for SEC decisions).

           1.    REGULATORY BACKGROUND

     SEC Rule 14a-8 compels companies to include a validly submitted

shareholder proposal in its proxy materials unless the proposal falls

under one of the Rule’s bases for exclusion. One of Rule 14a-8’s bases for

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exclusion of a proposal is in Rule 14a-8(i)(7), which states that a company

may exclude a proposal “[i]f the proposal deals with a matter relating to

the company’s ordinary business operations.” 17 C.F.R. § 240.14a-8(i)(7).

This basis for exclusion is commonly referred to as the “ordinary business

exclusion.”

     Decades ago, the SEC would apply the ordinary business exclusion

to block social-issue proposals. For example, in the landmark 1992 no-

action response in Cracker Barrel Old Country Store, Inc., the Division

applied the exclusion to permit the company to block a proposal that

requested the company “implement non-discriminatory policies relating

to sexual orientation and to add explicit prohibitions against such

discrimination to their corporate employment policy statement.” 1992

WL 289095, at *6 (SEC No-Action Decision Oct. 13, 1992). The Division

stated that under Rule 14a-8(i)(7), a proposal’s focus on a “social issue”

did not “remov[e] the proposal from the realm of ordinary business

operations.” Id. at *1.

     But after Cracker Barrel, Democratic SEC Commissioners and

several activist groups criticized the SEC’s decision to allow companies

to exclude social-issue proposals related to employment, and pushed for


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changes in the SEC’s interpretation of the ordinary business exclusion in

order to permit greater proxy inclusion for social-issue proposals. See,

e.g., Steven Wallman, Equality Is More Than “Ordinary Business,” N.Y.

Times (Mar. 30, 1997); Proxies: SEC Should Reexamine Position on

Shareholder Proposals, Wallman Says, 28 Sec. Reg. & L. Rep. (BNA) 1134

(Sept. 20, 1996); Group Petitions SEC for Change on Proxy Resolutions

about Employment, 27 Sec. Reg. & L. Rep. (BNA) 1366, 1367 (1995)

(petition of 30 institutional investors).

     In 1998, the SEC responded to that pressure and reversed its

interpretation of how the ordinary business exclusion applied to social-

issue proposals. Noting “changing societal views” and the fact that “the

relative importance of certain social issues relating to employment

matters has reemerged as a consistent topic of widespread public debate,”

the SEC reconsidered its prior approach. The SEC adopted changes to

“reverse the Cracker Barrel” decision and narrow the ordinary business

exclusion to prevent companies from excluding proposals that “focus[] on

sufficiently significant social policy issues.” 1998 Amendments, supra.

     Specifically, the SEC’s 1998 Amendments provided that “proposals

relating to such [ordinary business] matters but focusing on sufficiently


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significant social policy issues (e.g., significant discrimination matters)

generally would not be considered to be excludable, because the proposals

would transcend the day-to-day business matters and raise policy issues

so significant that it would be appropriate for a shareholder vote.” Id.

(emphasis added). This is now commonly referred to as the “significant

social policy exception” to the ordinary business exclusion.

     The Division subsequently provided in 2002 that “the presence of

widespread public debate” over an issue must be considered in

determining whether the issue transcends ordinary business operations.

Division of Corporation Finance, Staff Legal Bulletin No. 14A (SLB-14A)

(July 12, 2002), https://www.sec.gov/interps/legal/cfslb14a.htm.

     In the years following these pronouncements, the number of

shareholder proposals focusing on social and political issues has

increased significantly. As the SEC recounted in a recent proposed

rulemaking, from 2004 to 2018, proposals focusing on environmental

issues grew from 5% to 16% of all shareholder proposals, and social-issue

proposals from 25% to 39%.4 Today, “shareholder proposals are now a



4 Procedural Requirements and Resubmission Thresholds Under
Exchange Act Rule 14a-8, 84 Fed. Reg. 66,458, 66,479 (Dec. 4, 2019).

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central tool for shareholders seeking to advance social change.”5 Each

proxy season, shareholder activists submit hundreds of shareholder

proposals on topics ranging from climate change to abortion and LGBT

rights. See Shareholders File More Than 500 ESG-Related Resolutions in

Record-Breaking Year, Despite Political Attacks, As You Sow (Mar. 22,

2023), https://tinyurl.com/yepkf97n.

     In 2021, the SEC signaled it would allow even more social-issue

proposals to be included in proxy materials. The Division issued SLB-

14L, which explained even more forcefully that the significant social-

policy exception does not “focus on ... the nexus between a policy issue

and the company, but will instead focus on the social policy significance

of the issue that is the subject of the shareholder proposal,” and thus

turns on “whether the proposal raises issues with a broad societal impact,

such that they transcend the ordinary business of the company.”


5 Pet. of U.S. Chamber of Commerce et al. for Rulemaking Regarding

Resubmission of Shareholder Proposals Failing to Elicit Meaningful
Shareholder Support, In re Exclusion of Resubmitted Shareholder
Proposals, 17 C.F.R. § 240.14a-8(i)(12), at 15 (Apr. 10, 2014),
https://www.sec.gov/rules/petitions/2014/petn4-675.pdf; see generally
Paula Tkac, One Proxy at a Time: Pursuing Social Change Through
Shareholder Proposals, Fed. Rsrv. Bank of Atlanta (2006),
https://fraser.stlouisfed.org/files/docs/publications/frbatlreview/rev_
frbatl_2006_v91no3.pdf.

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SLB-14L, supra. SLB-14L further re-emphasized the 1998 Amendments’

direction that “[m]atters related to employment discrimination” are

proposals that “may rise to the level of transcending the company’s

ordinary business operations.” Id. at n.5.

             2.    PROPOSALS      RELATED     TO      SIGNIFICANT
                   DISCRIMINATION MATTERS SATISFY THE SIGNIFICANT
                   SOCIAL POLICY TEST.

     The Commission’s and Division’s interpretations of the “significant

social policy exception” repeatedly cite discrimination as the prototypical

example of a significant social policy issue that transcends ordinary

business matters. In addition to the 1998 Amendments’ express mention

of “significant discrimination matters” (discussed above), SLB-14L

further     emphasized      that   “[m]atters        related   to    employment

discrimination” are prime examples of issues that “may rise to the level

of transcending the company’s ordinary business operations.” SLB-14L,

supra.

     Accordingly, the Division has consistently denied companies no-

action relief for proposals that focus on risks of employment

discrimination. See, e.g., Levi Strauss & Co., 2021 WL 5918662 (SEC No-

Action Decision Feb. 10, 2022) (“audit analyzing the Company’s impacts


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on civil rights and non-discrimination” in “workplace and employment

practices”); The Walt Disney Co., 2021 WL 5052838 (SEC No-Action

Decision Jan. 19, 2022) (“workplace non-discrimination audit”);

Amazon.com, Inc. (N.Y. State Common Ret. Fund) (SEC No-Action

Decision Apr. 7, 2021), https://www.sec.gov/divisions/corpfin/cf-noaction/

14a-8/2021/nyscrfamazon040721-14a8.pdf            (“racial    equity        audit

analyzing Amazon’s impacts on civil rights, equity, diversity and

inclusion” and discussing “discrimination against Black and Latino

workers”).6

     Most significantly, in CorVel Corp., the SEC determined that a

proposal was not excludable where it requested a company to “issue a

public report detailing the potential risks associated with omitting

‘sexual orientation’ and ‘gender identity’ from its written equal

employment opportunity (EEO) policy.” 2019 WL 1640021. As discussed

further below, that is verbatim what NCPPR’s Proposal states, except it




6 The no-action decision in Amazon.com, Inc., supra, was not delivered by

letter. See 2020–21 Shareholder Proposal No-Action Responses Chart,
SEC,             https://www.sec.gov/divisions/corpfin/cf-noaction/14a-8/
shareholder-proposal-no-action-responses-2020-2021.htm.

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switches “sexual orientation” and “gender identity” for “viewpoint” and

“ideology.”

              3.   NCPPR’S PROPOSAL FOCUSED ON THE SIGNIFICANT
                   SOCIAL POLICY ISSUE OF CORPORATE VIEWPOINT
                   DISCRIMINATION.

      NCPPR’s Proposal requested that Kroger “issue a public report

detailing the potential risks associated with omitting ‘viewpoint’ and

‘ideology’ from its written equal employment opportunity (EEO) policy.”

Nowhere does the Proposal seek to manage Kroger’s workforce. It instead

seeks the issuance of a report that gathers information. That alone made

clear that the Proposal does not seek to micromanage the day-to-day

business operations of Kroger.

      Moreover, even assuming the Proposal did relate to ordinary

business matters, it was still not excludable, as it focused on a sufficiently

significant social policy issue involving discrimination, which—as

demonstrated       above—is   the   prototypical   example     of   a   matter

transcending ordinary business operations, according to the SEC itself.

      The Proposal focuses squarely on the issue of discrimination

against viewpoint and ideology, which is a matter of widespread and

intense public debate today. See SLB-14A, supra (noting that “the


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presence of widespread public debate” over an issue must be considered

in determining whether the issue transcends ordinary business

operations). As NCPPR explained to the SEC below, the rise of “woke

capital” has become a major political issue that drives current political

and public policy debates. JA18–19. According to a recent Society for

Human Resource Management study, the percentage of American

workers who say they have experienced political affiliation bias in the

workplace doubled from 2019 to 2022. JA51. As a result, advocates

increasingly call for new laws to protect workers from discrimination on

the basis of political and ideological viewpoints. JA51 (citing authorities).

And numerous states now treat political affiliation or political activities

as protected characteristics. See, e.g., D.C. Code § 2-1402.11; N.Y. Lab.

Law § 201-D; Wash. Rev. Code § 42.17A.495(2).

     As NCPPR explained to the Division, an Economist/YouGov poll

revealed that 79% of conservatives felt conservatives face “a great deal”

or “a fair amount” of discrimination in America today, and a Hill-HarrisX

survey found that 78% of Republicans believe conservatives “have to deal

with discriminatory behavior.” JA18.




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     This should have been more than enough for the Division to

conclude that the Proposal was not properly excludable. After all, as

noted above, the SEC routinely states that matters involving significant

discrimination matters will transcend ordinary business operations and

thus should not be excluded from proxy materials. The most pertinent

example is in CorVel Corp., where the SEC determined that a proposal

identical to NCPPR’s—except that it substituted “sexual orientation” and

“gender identity” for “viewpoint” and “ideology”—rose to the level of

significant social policy. 2019 WL 1640021. Notably, CorVel was issued

before the Supreme Court held in Bostock that Title VII extended to

sexual orientation and gender identity, meaning the SEC could not claim

that it denied no-action relief on the basis that the proposal tracked Title

VII’s coverage. And to the extent the SEC would make such a claim

anyway, it would not explain why it deemed NCPPR’s Proposal

excludable, given that numerous jurisdictions have already outlawed

political discrimination, as noted above.

     Given that viewpoint and ideological discrimination are at least as

socially significant in 2023 as sexual-orientation and gender-identity




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discrimination were in 2019, there was no reason for the Division to deny

excludability in the latter scenario but grant it in the former.

     Kroger’s governing documents also prove that the Proposal involves

a matter of such significance that it warrants board-level attention.

Kroger’s non-discrimination policy—the very same one mentioned in the

Proposal—was adopted by Kroger’s board. The Kroger Co., The Kroger

Co. Policy on Business Ethics at 1, 7, https://tinyurl.com/n2dc2jzp. This

board-level    event   shows   Kroger       clearly   views significant        non-

discrimination policy as an issue that transcends ordinary day-to-day

business operations, and is consistent with the SEC’s earlier “view [that]

management teams generally handle ‘mundane matters’ while boards of

directors are responsible for high level decision-making.” Trinity, 792

F.3d at 338.

     By any measure, therefore, the issue of viewpoint and ideological

discrimination is clearly socially significant and transcends ordinary

business matters. It was inexplicable for the SEC to conclude otherwise.

     Finally, under SLB-14L, it is not necessary to demonstrate further

that the Proposal raises a policy issue “of significance for the company”

specifically, see SLB-14L, supra, but Petitioners nonetheless note that


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Kroger has demonstrated a company-wide lack of consideration for

employees with diverse points of view, as evidenced by Kroger’s release

of an “allyship guide” that says, “Some people’s morality can be a barrier

to accepting LGBTQ+ people,” as well as a newsworthy settlement

Kroger made after disciplining employees who had refused on religious

grounds to wear rainbow “flair” that Kroger required. JA21.

     B.    THE SEC’S ABOUT-FACE               ON    DISCRIMINATION          WAS
           ARBITRARY AND CAPRICIOUS.

     Agency action must “be reasonable and reasonably explained.” FCC

v. Prometheus Radio Project, 141 S. Ct. 1150, 1158 (2021); see also Motor

Vehicle Mfs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co., 463 U.S.

29, 50 (1983). Under this precedent, the agency must rationally explain

its decision. See Prometheus, 141 S. Ct. at 1160.

     Here, the Division did not explain its rationale beyond a single

conclusory sentence. But “conclusory statements do not suffice to explain

[an agency’s] decision.” Encino Motorcars, LLC v. Navarro, 136 S. Ct.

2117, 2127 (2016). The Division’s decision was therefore arbitrary and

capricious on that basis alone.

     Further, where an agency seeks to change its position from a prior

regime, it must “display awareness that it is changing position” and

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“show that there are good reasons for the new policy.” FCC v. Fox

Television Stations, Inc., 556 U.S. 502, 515 (2009).

      As discussed above, the SEC did an about-face by suddenly

concluding that “significant discrimination matters” are ordinary

business matters—at least when it comes to viewpoint and ideology—

despite previously and consistently concluding otherwise with respect to

a broad range of discrimination matters. The SEC not only failed to

explain this sudden shift but also failed even to acknowledge it. This was

also arbitrary and capricious, warranting vacatur of the decision below.

See Encino, 136 S. Ct. at 2127.

II.   THE SEC VIOLATED THE FIRST AMENDMENT.

      The Decision below should be vacated for the additional reason that

the SEC engaged in viewpoint discrimination and the chilling of speech

in violation of the First Amendment.

      The government cannot engage in viewpoint discrimination. See

Matal v. Tam, 137 S. Ct. 1744 (2017). This includes regulating speech

“because of the speaker’s specific motivating ideology, opinion, or

perspective.” Rosenberger v. Rector and Visitors of Univ. of Va., 515 U.S.

819, 820 (1995). The Supreme Court defines “the term ‘viewpoint’


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discrimination in a broad sense,” Matal, 137 S. Ct. at 1763, precisely

because “[v]iewpoint discrimination is a poison to a free society,” Iancu v.

Brunetti, 139 S. Ct. 2294, 2302 (2019) (Alito, J., concurring).

     To avoid viewpoint discrimination the government must have

“narrow, objective, and definite” standards to prevent officials from

covertly discriminating based on viewpoint through subjective and

unclear terms. Forsyth Cnty., Ga. v. Nat’list Movement, 505 U.S. 123, 131

(1992) (internal citation omitted).

     But here, the Division has wide discretion to determine what

“issues” are significant or have “broad societal impact” and even to

effectively censor on the same issue—here, the issue of employment

discrimination—when they are presented by speakers with differing

political views. As one Court has described it, the SEC has adopted “what

can only be described as a ‘we-know-it-when-we-see-it’ approach.”

Trinity, 792 F.3d at 346.

     The clear viewpoint discrimination by the Division between

NCPPR’s Proposal and the CorVel Corp. proposal about sexual-

orientation and gender-identity discrimination is not just a one-off

instance. For decades, “equal employment opportunity” focused


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shareholder proposals have been a standard model that liberal activist

groups advance at companies, and which courts7 and the SEC8 have

approved.

     Even outside the context of discrimination proposals, the SEC’s

disfavoring of conservative viewpoints is clear. In Mastercard, Inc., 2022

WL 392206 (SEC No-Action Decision Apr. 22, 2022), the Division denied

no-action relief under Rule 14a-8(i)(7) for a liberal-aligned anti-gun

proposal requesting that the company issue a report describing if and

how it “intends to reduce the risk associated with the processing of




7See, e.g., Apache Corp. v. N.Y.C. Employees’ Ret. Sys., 621 F. Supp. 2d
444, 451 n.7 (S.D. Tex. 2008) (“Had the [proponent] drafted the Proposal
to simply request that Apache add sexual orientation to its existing anti-
discrimination policy and deleted [extraneous matter], the court would
be inclined to agree with the [proponent].”); Amalgamated Clothing &
Textile Workers Union v. Wal-Mart Stores, Inc., 821 F. Supp. 877, 892
(S.D.N.Y. 1993); Exxon Mobil Corp., 2000 WL 364043 (SEC No-Action
Decision Mar. 23, 2000) (“amend ExxonMobil’s written equal
employment opportunity          policy to     bar  sexual orientation
discrimination”); Wal-Mart Stores, Inc., 2021 WL 389304 (SEC No-Action
Decision Feb. 23, 2021).
8
 See, e.g., Altria Grp., Inc., 2023 WL 2672368 (SEC No-Action Decision
Mar. 27, 2023) (audit to “assess the impact of the Company’s policies ...
on BIPOC (Black, Indigenous and people of color) and Latinx/a/o/e
communities”); Amazon.com, Inc., supra (“racial equity audit analyzing
Amazon’s impacts on civil rights, equity, diversity and inclusion” and
discussing “discrimination against Black and Latino workers”).

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payments involving its cards and/or electronic payment system services

for the sale and purchase of untraceable firearms, including ‘Buy, Build,

Shoot’ firearm kits, components and/or accessories used to assemble

privately made firearms known as ‘Ghost Guns.’” But in American

Express Co., 2023 WL 2524429 (SEC No-Action Decision Mar. 9, 2023),

the Division granted no-action relief for a conservative-aligned pro-gun

proposal that was identical except it substituted “firearms” for

“untraceable firearms” and the examples included thereunder. While the

Mastercard proposal was concerned with the risks of failing to track gun

sales, the American Express Co. proposal was concerned with the risks of

tracking gun sales. The only basis for the difference between the

proposals was a difference in the proponents’ public-policy views about

gun sales.

     In another context, the Division permitted a proposal under Rule

14a-8(i)(7) that expressed concern that the company did too little to

combat alleged “misinformation,” but not a proposal that expressed

concern   that   the   company   did       too   much   to   combat     alleged

“misinformation.” Compare Alphabet Inc., 2022 WL 392221 (SEC No-




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Action Decision Apr. 12, 2022), with AT&T Inc., 2023 WL 108213 (SEC

No-Action Decision Mar. 15, 2023).

     The trend is significant enough that it reveals itself in aggregate

statistics. The Society for Corporate Governance recently concluded that

during the 2022 proxy season, the Division granted no-action relief in

50% of the instances where relief was requested on conservative “anti-

ESG” proposals—like NCPPR’s—compared with just 38% across all

proposals. The gap further widened when considering only social/political

proposals, where the Division granted companies relief at a 50% rate for

proposals from conservative “anti-ESG” proponents, as compared with

only 31% across all social/political proposals considered by the Division.

JA56–57.

     A comprehensive study by the independent, non-profit group

Consumers’ Research confirms the SEC’s viewpoint bias. For the 2018

through 2022 proxy seasons, the SEC granted no-action relief under Rule

14a-8(i)(7) on 46% of all requests for liberal-aligned proposals in which it

was raised, but on 72% of all conservative-aligned proposals. Consumers’

Research    SEC     No-Action    Audit      2018–2022     (May      4,      2023),

https://consumersresearch.org/secnoactionaudit.


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     The SEC’s viewpoint discrimination makes Petitioners’ proposals

less effective by preventing them from receiving votes and also chills

their speech by discouraging them from making proposals. See, e.g., City

of Lakewood v. Plain Dealer Publ’g Co., 486 U.S. 750, 757–59 (1988).

These violations are ongoing and will continue, as Petitioners continue to

submit conservative-aligned proposals, including ones identical to those

that the SEC has determined can be excluded from proxy materials.

     Because the SEC has failed to maintain the neutrality required by

the First Amendment, the Court should vacate the decision below. And

because the SEC’s wide discretion under Rule 14a-8 to determine what

“issues” are significant or have “broad societal impact” violates the

Supreme Court’s requirement that there be “narrow, objective, and

definite” standards to prevent government officials from discriminating

based on viewpoint, Forsyth Cnty., 505 U.S. at 131, the Court should also

declare that the significant social policy exception to Rule 14a-8(i)(7), as

promulgated by the 1998 Amendments and SLB-14L, is unconstitutional.

     Such relief would remedy the injury of the SEC’s viewpoint

discrimination. See, e.g., Barr v. Am. Ass’n of Pol. Consultants, Inc., 140

S. Ct. 2335, 2356 (2020) (holding that a court can “cure[] unequal


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treatment by, for example, extending a burden or nullifying a benefit,”

including in the context of First Amendment free speech rights); see also

Williams-Yulee v. Fla. Bar, 575 U.S. 433, 470 (2015) (Scalia, J.,

dissenting) (noting that the “First Amendment is a kind of Equal

Protection Clause for ideas”).

III. THE COURT HAS JURISDICTION.

     Seeking to avoid judicial review of its illegal, unconstitutional, and

arbitrary actions, the SEC has insisted in prior filings that this Court

cannot review the Division decision below because there supposedly is no

“final order of the Commission” under 15 U.S.C. § 78y(a)(1). ECF19, 37.

That is wrong.

     After the Division issued its no-action decision, Petitioners sought

review by the Commission itself, which declined to review the matter.

Under 15 U.S.C. § 78d-1(c), entitled “Finality of Delegated Action,” the

Commission’s act of declining review means that the Division’s decision

“shall, for all purposes, including appeal or review thereof, be deemed the

action of the Commission.” 15 U.S.C. § 78d-1(c); Axon, 143 S. Ct. at 898

(“[I]f no such review has occurred [by the Commission], the

[subordinate’s] ruling itself becomes the decision of the Commission.”).


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Indeed, this Court has already twice indicated in its rulings that this case

is on review from an “Order of the Securities and Exchange Commission.”

ECF29-2, 61-2.

     And by expressly establishing “[f]inality,” § 78d-1(c) settles the

matter: the Division’s decision is not just an order of the Commission but

is also the “final order of the Commission” for “all purposes,” thereby

triggering this Court’s jurisdiction under § 78y.

     In its prior filings, the SEC has gone to extraordinary lengths to

avoid this obvious conclusion. As explained below, the SEC’s arguments

ignore § 78d-1(c), border on the absurd, and repeatedly rely on the

“particular label[s]” the SEC gives its own actions, even though the

Supreme Court has held that “it is the substance” that matters when

determining judicial reviewability of agency action. CBS v. United States,

316 U.S. 407, 416 (1942).

     A.    THERE IS FINAL AGENCY ACTION.

           1.    SECTION 78D-1 ESTABLISHES THE CONSUMMATION OF
                 THE AGENCY PROCESS.

     The SEC has disputed that the Division decision represented the

“‘consummation’ of the Agency’s decisionmaking process.” Bennett v.



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Spear, 520 U.S. 154, 178 (1997); ECF37 at 33.9 As explained above, that

disregards 15 U.S.C. § 78d-1(c), which states that decisions by SEC

delegees “shall, for all purposes, including appeal or review thereof, be

deemed the action of the Commission,” including for “[f]inality,” once

Commission review has been denied or the time to seek it has expired.

Id. (emphasis added); ECF1-1 at 5–7.

     It is hard to imagine a clearer statutory directive designed to ensure

that SEC actions remain judicially reviewable regardless of who exactly

at the SEC made the decision and regardless of whatever procedural

tricks the Commission may invoke to try and evade review. The SEC

never disputes the Commission did in fact deny review here, ECF37 at

16, which is one of the triggers for § 78d-1.

     The SEC has also cited out-of-circuit cases finding no final,

reviewable order in similar circumstances, see, e.g., Kixmiller v. SEC, 492

F.2d 641 (D.C. Cir. 1974); Amalgamated Clothing & Textile Workers

Union v. SEC, 15 F.3d 254 (2d Cir. 1994), but none of those cases cited




9 For all citations to ECF filings, the pincite numbers are to the Court-

stamped page numbers at the top of the document.

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§ 78d-1—presumably they were simply unaware of it.10 But its text could

not be clearer, and it directly forecloses the SEC’s arguments here.

     The SEC has also claimed it “‘might’” change its mind down the

road regarding whether a proposal is properly excluded, ECF37 at 35, but

“[t]he mere possibility that an agency might reconsider … does not suffice

to make an otherwise final agency action nonfinal.” Sackett v. EPA, 566

U.S. 120, 127 (2012). And the Commission already had the opportunity

to review the Division’s decision and declined to do so.

           2.    PETITIONERS NEED NOT SATISFY BENNETT’S SECOND
                 PRONG, BUT THEY DO SO ANYWAY.

     The SEC has also argued that the Division’s decision—issued on

SEC letterhead after numerous rounds of briefing pursuant to extensive

regulations—is so informal that it was not “one by which rights or

obligations have been determined, or from which legal consequences will

flow,” under the second prong of finality under Bennett, 520 U.S. at 177–

78; see ECF37 at 32. Again, the SEC is incorrect.


10 The substance of § 78d-1 was originally enacted in 1962, see Pub. L.

No. 87-592, 76 Stat. 394 (1962), but was then re-codified as part of the
Exchange Act in 1987, see Pub. L. No. 100-181, 101 Stat. 1249, 1254–55
(1987); S. Rep. 100-105, 1987 WL 61544, at *20 (1987) (noting the 1987
Act would “insert [the 1962 Act] provisions into the 1934 Act, where they
would be more readily accessible”).

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     First, that generic element of finality is a default requirement of the

Administrative Procedure Act, ECF1-1 at 7–8, but as discussed above,

the Exchange Act specifically provides for “[f]inality” “for all purposes,

including appeal or review thereof,” once the Commission denies review

or the time expires to seek review. § 78d-1(c). That SEC-specific language

prohibits any attempt to glom additional tests for review onto the

requirements in § 78d-1(c).

     In fact, the SEC itself previously confirmed that under the

Exchange Act, “a staff decision could become final without review” by the

Commission and then “go[] directly to the court of appeals without the

benefit of a full Commission hearing.” Hearing on Reorganization Plans

of 1961: No. 1, Securities and Exchange Commission Before the S. Comm.

on Gov’t Operations, 87th Cong. 45 (1961) (statement of William I. Cary,

Chairman, SEC), available at https://tinyurl.com/5n72te5r. The Court

should reject the SEC’s attempt to abandon that long-held view.

     Second, even if Bennett prong-two finality were required,

Petitioners satisfy that “pragmatic” inquiry. Qureshi v. Holder, 663 F.3d

778, 781 (5th Cir. 2011); see Med. Comm. for Human Rts. v. SEC, 432




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F.2d 659, 665–76 (D.C. Cir. 1970), vacated on mootness grounds, 404 U.S.

403 (1972).11

     In terms of legal consequences of a no-action decision, Rule 14a-8

itself expressly treats “prior Division letters” as persuasive authority

when parties seek no-action relief, 17 C.F.R. § 240.14a-8(j)(2)(ii), and

courts often award some level of deference to the SEC’s no-action

decisions in private lawsuits against the company.12 Those forms of

deference by courts and the SEC itself, no matter how slight, impose

collateral legal consequences, satisfying Bennett prong two.

     The SEC seems to believe that there are legal effects only when an

agency decision categorically “bind[s]” others, ECF37 at 35, but that is

wrong. As Justice Scalia aptly put it in the context of agency rules, when

agency action “gets deference, the people are bound to obey it on pain of

sanction, no less surely than they are bound to obey substantive rules”




11 The SEC has previously attempted to distinguish Medical Committee

because the Commission had adopted the Division decision there, ECF37
at 31, but § 78d-1(c) renders that distinction irrelevant.
12 The SEC and “No-Action” Decisions Under Proxy Rule 14a-8, 84 Harv.

L. Rev. 835, 854 (1971); N.Y.C. Emps.’ Ret. Sys. v. SEC, 45 F.3d 7, 14 (2d
Cir. 1995).

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that are mandatory. Perez v. Mortg. Bankers Ass’n, 575 U.S. 92, 110

(2015) (Scalia, J., concurring).

     The no-action process also has all the tell-tale signs of a formal

proceeding designed to establish rights. Companies wishing to exclude

proposals are required to inform the SEC pursuant to Rule 14a-8. 17

C.F.R. § 240.14a-8(j). And “in the administration of proxy rule 14a-8, …

the SEC performs a quasi-judicial function.” The SEC and “No-Action”

Decisions Under Proxy Rule 14a-8, 84 Harv. L. Rev. 835, 837 (1971)

[“Harvard”]. The D.C. Circuit has described it as “an adversary

encounter” between “two interested private parties,” where the SEC

“formally decides among conflicting adversary claims premised on

detailed legal arguments.” Med. Comm., 432 F.2d at 669–70, 675.

     In short, pursuant to Rule 14a-8’s “formal procedures,” 17 C.F.R.

§ 202.1(c), the SEC legally compels the company to submit stockholder-

proposal disputes, then chooses to treat them as adversarial

controversies with full-blown briefing, and resolves them by applying

explicit legal standards. Deciding private rights necessarily satisfies

Bennett prong-two. This is a far cry from mere “investigation and




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information gathering,” as the SEC has attempted to label it. ECF37 at

22.

      Indeed, the entire point of the process is that “‘private parties can

rely on [the decision] as a norm or safe harbor by which to shape their

actions’”—i.e., it provides “‘best practices’” for the company—and that

alone makes it “final” under Bennett. Texas v. EEOC, 933 F.3d 433, 444

(5th Cir. 2019).

      The SEC has previously claimed that a Division decision cannot be

final because a company’s “management is free to ignore” it. ECF19 at

26–27. But if a company insists on excluding a proposal, the SEC could

institute an investigation or lawsuit, see ECF37 at 13. At the very least,

disregarding the Division’s decision “tend[s] to expose parties to civil or

criminal liability for non-compliance with the agency’s view,” which is yet

another basis for finding finality. La. State v. U.S. Army Corps of Eng’rs,

834 F.3d 574, 583 (5th Cir. 2016) (emphasis added).

      Moreover, the no-action decisions are treated as binding by

companies. Petitioners’ review of the 2021–22 proxy season reveals that

of the 112 instances where the SEC denied no-action relief, the company




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complied by including the proposal in their proxy materials in 111.13 In

the one exception, the company agreed to give the proponent the

underlying information requested, in exchange for withdrawing the

proposal.14 That means 100% of the time, the company bowed to the SEC

decision to deny Rule 14a-8 no-action relief.

     Finality is present for yet another reason: the Division’s decisions

are “‘applied by the agency in a way that indicates it is binding’” within

the SEC itself. Texas v. United States, 809 F.3d 134, 171 (5th Cir. 2015).

Petitioners are unaware of any occasion where the Commissioners

elected to proceed contrary to what the Division concluded, see ECF37 at

35 (SEC claiming this is possible but failing to cite any time when it

actually happened). Because the Division’s decision is treated as binding

at the SEC, the decision is final under Bennett. Texas, 809 F.3d at 171.




13 Petitioners matched no-action outcomes the SEC marked “include,” see

2021–22      Shareholder    Proposal No-Action    Responses,   SEC,
https://tinyurl.com/sec2021-22, to companies’ proxy statements,
available at EDGAR Search, SEC, https://www.sec.gov/edgar/search/.
14 Pfizer Inc., 2021 WL 6126545 (SEC No-Action Decision Feb. 10, 2022);

2022 Shareholder Impact Review             16,    As    You    Sow     (2022),
https://tinyurl.com/pfizersettle.

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     To be sure, the SEC theoretically could refuse to issue any decision

at all when a company seeks no-action relief, see ECF37 at 34–35, but

again there apparently is no example of this ever happening, and more

importantly this theoretical option does not somehow strip finality where

the SEC actually did issue a decision, as here.

           3.    THERE IS AN “ORDER.”

     It is unclear whether the SEC disputes the existence of a

Commission “order” on any basis not addressed above. ECF37 at 22–25.

If so, the SEC is wrong. Notably, this Court has already twice indicated

in its own rulings that this case is on review from an “Order of the

Securities and Exchange Commission.” ECF29-2, 61-2 (emphasis added).

     Even setting that aside, there clearly is an order here. The

Exchange Act does not define “order,” but “[c]ourts sometimes have

construed ‘order’ for purposes of special review statutes more expansively

than its definition in the APA” to ensure reviewability even of “informal”

rulings. Nat’l Fed’n of the Blind v. U.S. Dep’t of Transp., 827 F.3d 51, 55

(D.C. Cir. 2016). That is warranted here given § 78d-1’s broad

confirmation of finality for SEC actions, and also because when it comes




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to defining an “order,” “it is the substance” that matters. CBS, 316 U.S.

at 416.

     Concluding—on agency letterhead after full-blown adversarial

briefing—that Petitioners’ proposal “relates to, and does not transcend,

ordinary business matters,” and that Kroger may therefore exclude it,

JA34, has more than sufficient indicia of finality to qualify as an order.

That entails far more formality and process than many agency

proceedings that undoubtedly yield reviewable orders.

     Even if the APA definition of “order” applied, the outcome is

unchanged because “the APA defines ‘order’ broadly.” S. Cal. Aerial

Advertisers’ Ass’n v. FAA, 881 F.2d 672, 675 (9th Cir. 1989). The written

decision here included (1) a “declaratory” disposition, 5 U.S.C. § 551(6),

that there is a basis for concluding the Proposal involves only ordinary

business matters and thus can be excluded; and (2) an “affirmative”

“disposition,” id., that the Division will not recommend enforcement if

Kroger excludes the Proposal. And that decision was reached only after

a formal regulatory process with full-blown adversarial briefing.




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     Thus, “it would seem entirely consistent with the scheme of the

Exchange Act to treat agency determinations under rule 14a-8 as … an

‘order’ within the meaning of section [78y](a).” Harvard, supra, at 861.

     B.    SECTION 78D-1 APPLIES—BUT EVEN IF NOT, THIS COURT
           STILL HAS JURISDICTION.

     The SEC has previously tried to escape § 78d-1 altogether by

claiming the Commission never delegated authority over the Rule 14a-8

no-action process to the Division, thus never triggering § 78d-1’s finality

rules for decisions made pursuant to delegated authority. ECF37 at 26–

30. This Hail Mary argument implies that Division staff have been

issuing no-action decisions for decades, pursuant to detailed regulations

issued by the Commission, all without the Commission ever having

provided any authority to do so. The Court should reject this absurdity.

     First, the SEC cannot avoid judicial review by letting subordinates

issue decisions and then disclaiming that it was done pursuant to any

delegation. That charade would eviscerate § 78d-1 and let the SEC do an

end-run to avoid judicial review whenever it wished. An agency has no

“‘power to do indirectly what it cannot do directly’”—i.e., preclude judicial

review of subordinates’ decisions. SAS Inst., Inc. v. Iancu, 138 S. Ct. 1348,

1358 n.* (2018).

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     Second, the SEC’s argument is ultimately irrelevant because if the

Commission never delegated Rule 14a-8 no-action authority to the

Division, then the Commission itself retains exclusive authority over

proxies under 15 U.S.C. § 78n, meaning the Division’s decisions

necessarily represent the Commission’s own final orders for judicial

review purposes even without resort to § 78d-1. Even under the SEC’s

view, the Division is the agent communicating the Commission’s own

judicially reviewable decisions, and Petitioners need not even invoke

§ 78d-1 to trigger this Court’s jurisdiction.

     The SEC can’t have it both ways. The SEC is issuing these

decisions, so they must be attributable to the Commission either directly,

or indirectly via § 78d-1. Either way, judicial review is available.

     Third, in any event, “the Commission has in fact delegated its

powers in 14a-8 cases to the Division of Corporat[ion] Finance.” Hugh

Rice Kelly, Administrative Law, 49 Tex. L. Rev. 322, 332 n.48 (1971).

     Rule 14a-8, which was issued by the Commission (not the Division),

refers five different times to the role of “staff” in the no-action process

and even says “prior Division letters” are persuasive authority,

confirming that the Commission handed this process to the Division Staff


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and expected them to issue decisions. Moreover, 17 C.F.R. §§ 202.1(d) and

202.2, which the SEC concedes apply to the Rule 14a-8 process, see

ECF37 at 28–29, both invoke § 78d-1 for their authority, see 76 Fed. Reg.

71,872, 71,875 (Nov. 21, 2011). The SEC has even previously conceded

that the no-action process is “recognized by regulation.” ECF37 at 27.

      This is all inexplicable if the Commission never delegated such

authority to the Division in the first place. It is nonsensical to claim the

Division has been taking action pursuant to detailed regulations for

decades without the Commission ever having authorized the Division to

do so.

      Resisting the obvious, the SEC has claimed that perhaps § 78d-1

did not “provide[] the authority for each individual subsection” in 17

C.F.R. §§ 202.1(d) and 202.2. ECF37 at 28. This fails, as well. Section

78d-1 is listed as authority for all of § 202.1, not just part of it, and in any

event § 202.1(d) is the only subsection about the Division’s Staff and thus

the only subsection that would even need to invoke § 78d-1. Far from

helping the SEC, this provides additional evidence for Petitioners’ view

that the Commission not only delegated no-action authority to the

Division but did so expressly pursuant to § 78d-1. And § 202.2 has no


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subsections at all, so § 78d-1 necessarily provides authority for the entire

provision.

     Because the Commission delegated the no-action process to the

Division in 17 C.F.R. §§ 202.1(d) and 202.2, Petitioners rightfully can

invoke 15 U.S.C. § 78d-1 and thereby have the Division’s decisions

deemed the final decisions of the Commission itself, once the Commission

declines review or the time to seek such review has expired.

     This conclusion is independently supported by a separate

regulation delegating power to the Division to “authorize the use of forms

of proxies, proxy statements, or other soliciting material within periods

of time less than that prescribed in” relevant regulations, including Rule

14a-8. 17 C.F.R. § 200.30-1(f)(4). The delegation of the power to

“authorize the use of proxies” would include the review of proxy materials

themselves, and the Rule 14a-8 no-action process is part of that “review”

because it authorizes an essential part of a company’s proxy materials:

shareholder proposals. The SEC’s own regulations have used the same

terminology, confirming that the proxy review power of § 200.30-1(f)(4)

includes the no-action process itself. See Statement of Informal

Procedures for the Rendering of Staff Advice with Respect to Shareholder


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Proposals, 41 Fed. Reg. 29,989, 29,991 (July 20, 1976) (referring to Rule

14a-8 no-action process as “proxy review”).

                                  ***

     At bottom, the SEC never explains how it could be true that the

Division has been undertaking review of no-action requests, receiving full

adversarial briefing, and issuing decisions on SEC letterhead pursuant

to hundreds of pages of intricate regulations, rules, and bulletins—all

without ever having been delegated any no-action power by the

Commission in the first place. The answer is obvious—the Commission

did in fact delegate the power—but is also ultimately irrelevant because

even if no such delegation occurred, that simply means the Division’s

decisions are necessarily those of the Commission itself and thus directly

reviewable by this Court, as explained above.

     C.    HECKLER V. CHANEY DOES NOT BAR REVIEW.

     The SEC has also previously argued in passing that the challenged

order is unreviewable as a purely discretionary decision. ECF37 at 31–

32. That is wrong.

     First, the no-action letter does far more than announce a decision

against executive enforcement. The Division unequivocally concluded


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that “the Proposal relates to, and does not transcend, ordinary business

matters,” and thus could be excluded. JA34. That conclusion is

segregable, Med. Comm., 432 F.2d at 673–75, and is “an issue which the

agency has effectively resolved and which is appropriate for judicial

review,” Harvard, supra, at 865, especially because the SEC “has never

indicated that it takes … prosecutorial factors into consideration at all in

rule 14a-8 decisions,” id. at 851.

      Second, the bar on reviewing discretionary decisions “is very

narrow” and does not apply (1) where the agency itself has issued

regulations that provide judicially manageable standards for review, or

(2) to constitutional claims. Rollerson v. Brazos River Harbor Navigation

Dist., 6 F.4th 633, 644 (5th Cir. 2021). In prior briefing, the SEC has not

disputed that both of these exceptions apply here, as there are detailed

SEC regulations on when proposals can be excluded, and Petitioners

undoubtedly bring a constitutional claim. See ECF1-1 at 11.n.2.

IV.   RECENT EVENTS DO NOT MOOT THE CASE BUT INSTEAD CONFIRM
      ITS JUSTICIABILITY.

      The SEC has also claimed this case is moot because Kroger included

the Proposal in its 2023 proxy materials. ECF37. That does not moot the

case, as explained below. Indeed, presumably the reason this Court

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issued an extended administrative stay was to ensure this case would not

become moot before a merits panel could hear it. ECF10.

     “A case becomes moot only when it is impossible for a court to grant

any effectual relief whatever to the prevailing party. As long as the

parties have a concrete interest, however small, in the outcome of the

litigation, the case is not moot.” Knox v. Serv. Emps. Int'l Union, Loc.

1000, 567 U.S. 298, 307–08 (2012) (cleaned up). And a case remains live

under the “‘capable of repetition, yet evading review’ doctrine” when “(1)

the challenged action was in its duration too short to be fully litigated

prior to its cessation or expiration, and (2) there was a reasonable

expectation that the same complaining party would be subjected to the

same action again.” Murphy v. Hunt, 455 U.S. 478, 482 (1982) (cleaned

up); see Turner v. Rogers, 564 U.S. 431, 439–40 (2011).

     Both elements are satisfied here, as explained below. It is

important to remember that the SEC, not Kroger, is the Respondent in

this case, and so what matters is the SEC’s consistent course of action in

the past when faced with the viewpoint-discrimination proposal, and the

SEC’s near-guaranteed future decisions agreeing that the proposal can

be excluded.


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     A.    THE SHORT DURATION OF THE PROXY SEASON PRECLUDES
           FULL REVIEW.

     The shareholder proxy season is extraordinarily short, almost

always precluding full judicial review before the company must print its

proxy materials. This case demonstrates it. In late December 2022,

NCPPR timely filed the Proposal with Kroger, which timely sought no-

action relief. JA1, JA6. Once the Division concluded the Proposal was

excludable, Petitioners promptly sought Commission review, and after

that was denied, Petitioners promptly sought emergency relief before this

Court, which issued an extraordinarily expedited briefing schedule.

Despite all this, there was still no realistic chance of a dispositive ruling

before Kroger had to print its annual materials for its June 2023 meeting.

     Unsurprisingly, in a similar case, the U.S. District Court for the

District of Delaware agreed that the proxy review process is a classic

scenario for the capable-of-repetition-yet-evading-review doctrine. See

Trinity Wall St. v. Wal-Mart Stores, Inc., 75 F. Supp. 3d 617, 627 (D. Del.

2014). And the Supreme Court held in Turner, albeit in a different

context, that even a one-year window was too short to ensure full

litigation. Turner, 564 U.S. at 439–40. The window here is far shorter.



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     B.    THERE IS A REASONABLE EXPECTATION OF THE SAME ACTION
           RECURRING.

     There is a reasonable expectation that Petitioners will be subjected

to the same SEC action again.

     First, NCPPR has already submitted the same viewpoint-

discrimination proposal to Kroger for its 2024 proxy materials. Add.Ex.A.

There is no reason to believe that Kroger will include that proposal. To

be sure, Kroger included it in the 2023 proxy materials, but that was only

because of this Court’s decision to impose an indefinite administrative

stay, which deprived Kroger of its no-action decision (otherwise, as

discussed above, companies follow the SEC’s no-action decisions at a

100% rate), and thus Kroger resorted to the default practice of including

a proxy proposal unless the SEC has provided no-action relief. It would

be wild speculation to conclude that Kroger suddenly decided for some

other, unstated reason to include the Proposal, despite having vigorously

fought to receive a Division decision granting no-action relief and stating

the Proposal was properly excludable.

     Second, even setting aside Kroger, the case is not moot. Petitioners

challenge the SEC’s treatment of its viewpoint-discrimination proposal,

and that exact same treatment can (and will) be repeated in the future.

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The SEC has previously acknowledged that submitting the same

proposal to other companies could avoid mootness if the SEC were likely

to issue the same no-action decision—but the SEC insisted it is

unbelievable that this process would occur again. ECF37 at 20.

     But the SEC ignores that over a period of years, NCPPR has a

consistent   pattern   of   submitting     this   exact   same     viewpoint-

discrimination proposal to numerous other companies that have sought

and obtained decisions from the SEC blessing the exclusion of the

proposal every time:

        • Apple Inc., 2019 WL 5420787, at *1 (SEC No-Action Decision
          Dec. 20, 2019) (asking company to “issue a report detailing the
          potential risks associated with omitting ‘viewpoint’ and
          ‘ideology’ from its written equal employment opportunity
          policy”).

        • Salesforce.com, Inc., 2020 WL 605941, at *1 (SEC No-Action
          Decision Mar. 5, 2020) (same).

        • Alphabet Inc., 2020 WL 605360, at *1 (SEC No-Action
          Decision Feb. 24, 2020) (same).

        • Walgreens Boots All., Inc., 2020 WL 5656738, at *1 (SEC No-
          Action Decision Nov. 12, 2020) (same).

        • BlackRock, Inc., 2022 WL 225967, at *1 (SEC No-Action
          Decision Apr. 4, 2022) (same).




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     Keeping with its years-long practice, NCPPR has already

submitted the same proposal again to BlackRock and Walgreens for their

upcoming proxy seasons (as well as to Kroger, as mentioned above). See

Add.Decl.A. Petitioners Fischer and Aronoff both own shares in

BlackRock and would participate in the no-action process to vindicate

their rights to vote on NCPPR’s viewpoint-discrimination proposal. See

Add.Decl.B–C. Further, Fischer submitted the same viewpoint-

discrimination proposal to Redfin for 2024. See Add.Decl.B. These

proposals all remain pending.

     And Petitioners intend to keep submitting the same proposal in the

future, as well. See Add.Decl.A–B. NCPPR will imminently submit the

proposal to American Express, Apple, and Alphabet, just as NCPPR has

done in the past. See Add.Decl.A.

     It is in no way “speculative,” ECF37 at 20, to conclude that at least

one of those companies will seek no-action relief under Rule 14a-8(i)(7)

(as has always happened when NCPPR submitted the proposal in the

past to those very same companies), or that Petitioners will again be on

the losing end when the SEC issues decisions blessing the companies’

exclusion of that proposal (as the SEC has done every time in the past).


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What is truly speculative is that all of those companies will suddenly

start including the viewpoint-discrimination proposal or that the SEC

will suddenly begin saying that all those companies must include the

proposal in their proxy materials.

     The SEC has previously claimed that no-action decisions “are

necessarily specific to the particular proposal and company at issue,” so

perhaps the Court should treat Kroger’s 2023 no-action decision as

inherently different from the no-action decisions that will be coming

down the pike. Id. The Court should not credit this self-serving litigation

position because the SEC’s own formal legal bulletins say the exact

opposite: the SEC “is no longer taking a company-specific approach to

evaluating the significance of a policy issue under Rule 14a-8(i)(7),” SLB-

14L, supra. After all, the entire point is that such proposals “transcend

the ordinary business of the company,” and thus cannot be company-

specific. Id. When it comes to Petitioners’ viewpoint-discrimination

proposal, the SEC’s decision is therefore decidedly not “specific to the

particular proposal and company at issue,” ECF37 at 20, no matter what

the SEC peddles to this Court in the hopes of avoiding judicial review. It

does not matter whether the proposal is submitted to Kroger, Apple,


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BlackRock, or any other company. Under its own rules, the SEC must

treat them all the same.15

     Given all this, it is almost a guarantee that the SEC will bless

companies’ requests to exclude Petitioners’ pending and future

viewpoint-discrimination proposals, regardless of which company is at

issue. There is accordingly not just “a reasonable expectation”—but a

near certainty—that Petitioners will “be subjected to the same action

again” by the SEC. Murphy, 455 U.S. at 482 (internal citation omitted).

The SEC’s own rules require as much.

     Both requirements of the capable-of-repetition-yet-evading-review

doctrine are therefore satisfied, and there remains a live controversy

between Petitioners and the SEC.




15  Further, Rule 14a-8 expressly deems “prior Division letters” as
persuasive authority when considering other proposals, meaning the
Division’s prior decisions stating that NCPPR’s viewpoint-discrimination
proposal is properly excludable will make it even more likely that the
SEC grants the same relief in the future. See 17 C.F.R. § 240.14a-
8(j)(2)(ii).

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     C.    KROGER’S DECISION TO INCLUDE THE PROPOSAL IN ITS 2023
           MATERIALS CONFIRMS THE COURT CAN REDRESS
           PETITIONERS’ HARMS.

     If anything, Kroger’s decision to include the proposal in the 2023

proxy materials confirms this Court can provide meaningful relief to

Petitioners. Companies must include a proposal unless they report to the

SEC that they wish to exclude the proposal. 17 C.F.R. § 240.14a-8(j).

Unless companies receive a no-action decision from the SEC, they almost

invariably include the proposal; and conversely, when they do receive a

no-action decision, they always follow the SEC’s lead and exclude the

proposal. See, e.g., ECF21 at 12–13.

     During the SEC proceedings, Kroger fought to keep the Proposal

out of the 2023 proxy materials and received its coveted decision saying

the Proposal fell within an exception from inclusion in proxy materials.

But Kroger suddenly changed course and included the Proposal just two

days after this Court issued an indefinite administrative stay of the

SEC’s no-action decision. By doing so, the Court deprived Kroger of the

SEC decision greenlighting exclusion of the Proposal. Kroger had to move

forward with printing its materials, so it resorted to the default rule and

included the Proposal.


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     This confirms that if the Court grants the Petition and issues a

decision against the SEC’s illegal actions, there is at least a fair prospect

that it will provide some kind of relief to Petitioners. If nothing else, it

would be akin to a declaratory judgment that the SEC’s actions are

illegal, which is a form of relief for Petitioners’ pending and future

submissions of the very same viewpoint-discrimination proposal.

                             CONCLUSION

     The Court should grant the Petition, vacate the SEC’s decision, and

remand.




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July 14, 2023                     Respectfully submitted,

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                       CERTIFICATE OF SERVICE

     I hereby certify that I electronically filed the foregoing document

with the Clerk of this Court using the CM/ECF system, which will serve

all parties automatically.

July 14, 2023                     /s/ R. Trent McCotter




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                 CERTIFICATE OF COMPLIANCE

     I hereby certify that this brief complies with the type-volume

limitations of Fifth Circuit Rule 32 and Federal Rule of Appellate

Procedure 32(a) because it contains 11,637 words, excluding the portions

exempted by Rule 32(f). This brief complies with the typeface and type

style requirements of Federal Rule of Appellate Procedure Rule 32(a)(5)–

(6) because it has been prepared in a proportionally spaced typeface using

Microsoft Word in Century Schoolbook and 14-point font.


July 14, 2023                     /s/ R. Trent McCotter




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